                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:16-cv-00819-FDW-DCK


 JUSTIN DRISKELL,                                 )
                                                  )
         Plaintiff,                               )
                                                  )
 vs.                                              )
                                                  )                 JUDGMENT
 SUMMIT CONTRACTING GROUP, INC.                   )
                                                  )
         Defendant.                               )
                                                  )
                                                  )

        THIS MATTER comes before the Court on Plaintiff Justin Driskell’s (“Plaintiff”) Motion

for Judgment Nunc Pro Tunc, filed on June 23, 2021. (Doc. No. 144). For the reasons set forth in

Plaintiff’s Motion, and for good cause shown, the Court GRANTS the nunc pro tunc motion. (Doc.

No. 144).

        IT IS, THEREFORE, ORDERED that judgment shall be entered in favor of the Plaintiff

and against the Defendant. Plaintiff shall have judgment against the Defendant as follows:


       1.) $250,000 in punitive damages on his wrongful discharge (tort) claim (reduced from

            the jury’s award of $651,000, pursuant to N.C. Gen. Stat. § 1D-25(b));


       2.) $65,000 in untrebled compensatory damages pursuant to his claim under the North

            Carolina Retaliatory Employment Discrimination Act, N.C. Gen. Stat. § 95-240 et

            seq., together with interest to be calculated by the Clerk at the legal rate of 8% per

            annum running from July 20, 2015 to entry of Judgment pursuant to N.C. Gen. Stat.

            § 24-5; AND

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3.) $441,600 in attorneys’ fees pursuant to N.C. Gen. Stat. § 95-243.


 IT IS SO ORDERED.


                              Signed: June 29, 2021




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